             Case 24-10082               Doc 66         Filed 03/06/24 Entered 03/06/24 16:57:50                            Desc Main
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Fill in this information to identify the case:

Debtor name         Freedom Wind Tunnel, LLC

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)    24-10082
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 6, 2024                   X /s/ Neal Gouck
                                                           Signature of individual signing on behalf of debtor

                                                            Neal Gouck
                                                            Printed name

                                                            Manager, President, and Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Freedom Wind Tunnel, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)               24-10082
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       23,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           139,650.03

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       23,139,650.03


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       16,319,374.29


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            97,144.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,495,975.31


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         19,912,493.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name        Freedom Wind Tunnel, LLC

United States Bankruptcy Court for the:         DISTRICT OF MASSACHUSETTS

Case number (if known)           24-10082
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $23,103.00          $15,150.00
          Courtney McCarthy                                   Check all that apply.
          63 S Grove St                                          Contingent
          Foxboro, MA 02035                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Employment Agreement dated November 8,
          8-Nov-22                                            2022
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Department of Unemployment                          Check all that apply.
          Assistance                                             Contingent
          100 Cambridge Street                                   Unliquidated
          Suite 400                                              Disputed
          Boston, MA 02114
          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 10
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Debtor      Freedom Wind Tunnel, LLC                                                                 Case number (if known)   24-10082
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Internal Revenue Service                           Check all that apply.
         Centralized Insolvency Operations                     Contingent
         PO Box 7346                                           Unliquidated
         Philadelphia, PA 19101-7346                           Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Massachusetts Dept of Revenue                      Check all that apply.
         Bankruptcy Unit                                       Contingent
         PO Box 7090                                           Unliquidated
         Boston, MA 02004                                      Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $54,167.00   $15,150.00
         Neal Gouck                                         Check all that apply.
         200 Reservoir Street                                  Contingent
         North Attleboro, MA 02760                             Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Sep-18                                             Employment Agreement dated September 2018
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Town of Foxboro                                    Check all that apply.
         40 South Street                                       Contingent
         Foxboro, MA 02035                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 10
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Debtor       Freedom Wind Tunnel, LLC                                                                   Case number (if known)          24-10082
             Name

2.7       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $19,874.00    $15,150.00
          Ty Swansboro                                         Check all that apply.
          63 S Grove St                                           Contingent
          Foxboro, MA 02035                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Employment Agreement dated November 8,
          8-Nov-22                                             2022
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          ADP                                                                    Contingent
          501 Boylston Street                                                    Unliquidated
          Boston, MA 02116                                                       Disputed
          Date(s) debt was incurred various
                                                                             Basis for the claim: Services Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,488.40
          AHP Architect                                                          Contingent
          116 Johns Street
                                                                                 Unliquidated
          Suite 115
          Lowell, MA 01852                                                       Disputed

          Date(s) debt was incurred                                          Basis for the claim: Standard Form of Agreement Between Owner and
          Last 4 digits of account number                                    Architect dated February 12, 2021
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $64,983.00
          Alares Architects & Engineers                                          Contingent
          248 Copeland St
                                                                                 Unliquidated
          Quincy, MA 02169
                                                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Agreement For Owner's Representation Services
          Last 4 digits of account number
                                                                             dated August 3, 2022
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $455.00
          Alpi USA LLC                                                           Contingent
          1711 Broadway                                                          Unliquidated
          Saugus, MA 01906                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Shipping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 10
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            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Amazon Web Services                                          Contingent
         410 Terry Ave North                                          Unliquidated
         Seattle, WA 98109-5210                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,183.00
         Batten Bros Signage                                          Contingent
         893 Main Street                                              Unliquidated
         Wakefield, MA 01880
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract dated June 20, 2022
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,859.29
         Bay Crane Northeast LLC                                      Contingent
         12 Ledin Drive
                                                                      Unliquidated
         Avon, MA 02322
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Equipment storage and delivery

                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,866.50
         Bay State IT                                                 Contingent
         535 Albany Street
                                                                      Unliquidated
         Suite 2A
         Boston, MA 02118                                             Disputed

         Date(s) debt was incurred                                 Basis for the claim: Computer Support Service
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         BlueHost                                                     Contingent
         5335 Gate Pkwy                                               Unliquidated
         2nd Floor                                                    Disputed
         Jacksonville, FL 32256
                                                                   Basis for the claim: Internet Domain Hosting
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $28,159.00
         CLA (CliftonLarsonAllen)                                     Contingent
         700 Pleasant St
                                                                      Unliquidated
         4th Floor
         New Bedford, MA 02740                                        Disputed

         Date(s) debt was incurred                                 Basis for the claim: Professional Services
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $176.25
         Code Red Consultants                                         Contingent
         154 Turnpike Road                                            Unliquidated
         Suite 200                                                    Disputed
         Southborough, MA 01772
                                                                   Basis for the claim: Professional Services Contract
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 10
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            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,105.24
         Comcast
         One Comcast Center                                           Contingent
         1701 JFK Blvd                                                Unliquidated
         Suite # 300                                                  Disputed
         Philadelphia, PA 19103-2838
                                                                   Basis for the claim: Telecom/internet service
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Commonsense Construction Law LLC                             Contingent
         44 Park Street                                               Unliquidated
         3rd Floor                                                    Disputed
         Andover, MA 01810
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Courtney McCarthy                                            Contingent
         63 S Grove St                                                Unliquidated
         Foxboro, MA 02035                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Unreimbursed Business Expenses
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,000.00
         Davis Malm                                                   Contingent
         One Boston Place|                                            Unliquidated
         37th Floor                                                   Disputed
         Boston, MA 02108
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $244,400.00
         DEO Associates                                               Contingent
         44 Clam Pudding                                              Unliquidated
         Plymouth, MA 02360
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting Agreement, dated January 1, 2019
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,885.00
         Drohan Tocchio & Morgan PC                                   Contingent
         175 Derby Street                                             Unliquidated
         Suite 30                                                     Disputed
         Hingham, MA 02043
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $92,132.84
         Eagle Engineering Corp.                                      Contingent
         8869 Citation Road                                           Unliquidated
         Baltimore, MD 21221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Field Service October - November 2023
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 10
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3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         First Insurance                                              Contingent
         450 Skokie Blvd
                                                                      Unliquidated
         Suite 1000
         Northbrook, IL 60062                                         Disputed

         Date(s) debt was incurred                                 Basis for the claim: Insurance premium finance agreement
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,000.00
         Instabrite Mobile Washing Inc.                               Contingent
         500 South Avenue                                             Unliquidated
         Whitman, MA 02382                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Pressure wash service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,000.00
         Kenneth Brenneman                                            Contingent
         1326 Westwood Rd                                             Unliquidated
         Bountiful, UT 84010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Fundraising Commissions
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,145.00
         Kessler Machine and Fabricating                              Contingent
         283 Neponset St                                              Unliquidated
         Canton, MA 02021                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Machining/fabricating service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,844.87
         Leito Ltd                                                    Contingent
         67 Box End Road                                              Unliquidated
         Kempston, MK43 8RP England                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: License Agreement dated October 15, 2019
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $300,000.00
         Martin Bencher USA LLC                                       Contingent
         21 Fadem Rd #14                                              Unliquidated
         Springfield, NJ 07081                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Settlement Agreement And Release dated December
         Last 4 digits of account number                           5, 2023
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $30,100.00
         Martins Electric LLC                                         Contingent
         62 Sherman Ave                                               Unliquidated
         Seekonk, MA 02771
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Electrician
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $196,258.45
         MAS Building & Bridge Inc.                                   Contingent
         18 Sharon Ave
                                                                      Unliquidated
         Norfolk, MA 02056
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Subcontractor Agreement, dated September 27, 2022

                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,320.50
         Mirick, O'Connell, DeMallie & Lougee, LL                     Contingent
         100 Front Street                                             Unliquidated
         Worcester, MA 01608-1477                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,896.93
         National Grid                                                Contingent
         P.O. Box 960
                                                                      Unliquidated
         Northborough, MA 01532-0960
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Electric Service Proposal 30509850

                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Neal Gouck                                                   Contingent
         200 Reservoir Street                                         Unliquidated
         North Attleboro, MA 02760                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Unreimbursed Business Expenses
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $321,825.00
         Premier Mechanical                                           Contingent
         29 Mystic Avenue
                                                                      Unliquidated
         Somerville, MA 02145
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Accepted Proposal for Phase 2 of Chilled Water
                                                                   System and Condensate Spary Piping, dated May 31, 2023
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $531,915.00
         Robert Clark                                                 Contingent
         200 Reservoir Street                                         Unliquidated
         North Attleboro, MA 02760
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Subordinated Promissory Note dated December 29,
         Last 4 digits of account number                           2023
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $225,000.00
         Robert Parish                                                Contingent
         3238 Players Club Circle                                     Unliquidated
         Memphis, TN 38125
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Amended And Restated Subordinated Promissory
         Last 4 digits of account number                           Note dated July 6, 2023
                                                                   Is the claim subject to offset?     No       Yes


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            Name

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,875.00
         Shaw Welding Company, Inc.                                   Contingent
         P.O. Box 435
                                                                      Unliquidated
         7 Innis Drive
         Billerica, MA 01821                                          Disputed

         Date(s) debt was incurred                                 Basis for the claim: Welding services
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         STI Inc.                                                     Contingent
         13766 Hawthorne Boulevard                                    Unliquidated
         Hawthorne, CA 90250
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Freedom Wind Tunnel Timeline and Payment
         Last 4 digits of account number                           Schedule: Appendix #1A dated 4/18/2018
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $86,130.00
         TCF Law Group, PLLC                                          Contingent
         21 Pleasant Street Suite 237 Attn: Neil                      Unliquidated
         Newburyport, MA 01950
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $850,000.00
         The Wind Tunnel Company                                      Contingent
         8869 Citation Road                                           Unliquidated
         Essex, MD 21221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Amended And Restated Promissory Note dated
         Last 4 digits of account number                           August 28, 2023
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $100,000.00
         The Wind Tunnel Company                                      Contingent
         8869 Citation Road                                           Unliquidated
         Essex, MD 21221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Amended And Restated Promissory Note dated July
         Last 4 digits of account number                           6, 2023
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $80,851.00
         The Wind Tunnel Company                                      Contingent
         8869 Citation Road                                           Unliquidated
         Essex, MD 21221
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Amended And Restated Promissory Note dated
         Last 4 digits of account number                           October 10, 2023
                                                                   Is the claim subject to offset?     No       Yes




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              Case 24-10082                  Doc 66          Filed 03/06/24 Entered 03/06/24 16:57:50                                            Desc Main
                                                             Document      Page 11 of 12
Debtor       Freedom Wind Tunnel, LLC                                                               Case number (if known)            24-10082
             Name

3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $207,871.41
          Trane U.S. Inc.                                                      Contingent
          2313 S 20th Street
                                                                               Unliquidated
          La Crosse, WI 54601
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim: Accepted Proposal for Air-Cooled Helical Rotary
                                                                           Water Chiller, dated December 30, 2021
                                                                           Is the claim subject to offset?       No     Yes

3.40      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,705.63
          Tunnel Instructor                                                    Contingent
          c/o 2 Loak Close                                                     Unliquidated
          Bedford, MK41 6GQ                                                    Disputed
          ENGLAND
                                                                           Basis for the claim: Travel Expense Reimbursement
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.41      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Ty Swansboro                                                         Contingent
          63 S Grove St                                                        Unliquidated
          Foxboro, MA 02035                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Unreimbursed Business Expenses
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.42      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,575.00
          UTS of Mass, Inc.                                                    Contingent
          5 Richardson Lane
                                                                               Unliquidated
          Stoneham, MA 02180
                                                                               Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                  Basis for the claim: Testing Services

                                                                           Is the claim subject to offset?       No     Yes

3.43      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $39,968.00
          Vertical DWC LLC                                                     Contingent
          Business Center Logistics City,                                      Unliquidated
          Dubai Aviation City
                                                                               Disputed
          P.O. Box 390667
          Dubai U.A.E.                                                     Basis for the claim: Sale Purchase Agreeemnt for Vertical Wind Tunnel

          Date(s) debt was incurred
                                                                           (SPA), dated January 22, 2019, and Amended July 10, 2019
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                        97,144.00
5b. Total claims from Part 2                                                                           5b.   +    $                     3,495,975.31



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                                            Document      Page 12 of 12
Debtor      Freedom Wind Tunnel, LLC                                         Case number (if known)   24-10082
            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                        5c.     $                3,593,119.31




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